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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-60883-CIV-ZLOCH

 REINIER FUENTES,

             Plaintiff,

 vs.                                               ORDER OF INSTRUCTIONS

 CLASSICA CRUISE OPERATOR
 LTD., INC.,

             Defendant.
                                 /

       THIS MATTER is before the Court sua sponte. This Order is necessitated by
 the Court’s observations and hope that this Order will inform the lawyers what
 will be expected of them in the course of prosecuting and defending this action.
 It is hereby

       ORDERED AND ADJUDGED as follows:

       1. Within twenty (20) calendar days from the date of this Order, Counsel
 for the Parties, unless excluded by Rule 26(a)(1)(B), shall meet either in person
 or via telephone for the purposes prescribed in Federal Rule of Civil Procedure
 26(f).   Within seven (7) calendar days of meeting the Parties are jointly
 responsible for filing with the Court a Scheduling Report. Said Report must
 include all categories listed in Local Rule 16.1(b)(2)-(3) (including all
 subparts listed therein) and an agreed time and place to exchange all discovery
 listed in Federal Rule of Civil Procedure 26(a)(1)(A) by the time listed in
 Federal Rule 26(a)(1)(c). Together with the Scheduling Report, the Parties shall
 also file corporate disclosure statements in compliance with Federal Rule of
 Civil Procedure 7.1.
       2. The Parties shall notify the Court in their Scheduling Report as to
 whether this case was previously filed or whether it is substantially related to
 another case previously or currently pending before another court. S.D. Fla.
 L.R. 3.8.
       3. The Court does not routinely refer discovery matters to a Magistrate
 Judge. The Court expects that the Parties shall abide by the Federal and Local
 Rules governing civil actions; however, based on the Court’s observations it is
 necessary to stress certain Rules that are all too often ignored by parties:
       a. Pursuant to Local Rule 7.1(a)(1), every motion must include a
       memorandum of law that cites both the applicable Rule or Statute and
       the governing authority in support of the movant’s position, except
       those so listed in the Local Rule. S.D. Fla. L.R. 7.1(a)(1). A
       Party’s failure to provide such a memorandum is grounds for
       automatic denial of the same;
       b. Every non-excluded motion must, in accord with Local Rule
       7.1(a)(3), include a statement noting conferral with opposing
       counsel or detail, with great specificity, the efforts taken to
       confer. By way of example, a single phone call or e-mail just prior
       to filing the motion does not satisfy the requirement of conferral.
       Failure to confer or detail the reasons for failing to confer is
       grounds for denial of the motion and imposition of attorney’s fees
       as a sanction. S.D. Fla. L.R. 7.1(a)(3);
       c. Every motion to compel and motion for protective order must
       include a verbatim copy of the specific discovery request and
       objection at issue and the date on which the discovery request was
       propounded. S.D. Fla. L.R. 26.1(h);
       d. Every motion for attorney’s fees must be accompanied by all of
       the information listed in Local Rule 7.3. In addition, the billing
       records submitted by the Parties must be those normally used by the
       attorney’s firm to record the time billed by attorneys. The Court
       will not entertain attorney’s fees motions unless they are
       accompanied by copies of the original time sheets kept by the
       attorney’s firm. S.D. Fla. L.R. 7.3.;
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       e. Pursuant to Federal Rule 37, fees will be imposed if the Court
       grants a Party’s motion to compel, or if discovery is submitted
       after a motion to compel is filed. Fed. R. Civ. P. 37(a)(5)(A).
       Similarly, a motion to compel that is denied may result in an award
       of attorney’s fees and costs to the Party opposing the motion. Fed.
       R. Civ. P. 37(a)(5)(B);
       f. The Court’s Order Setting Pre-Trial Conference will contain a
       discovery cut-off date.     This means that all discovery must be
       completed by the date prescribed. Therefore, all discovery must be
       propounded with sufficient time for the Party to whom the discovery
       request is directed to respond before the deadline. For example, a
       Party seeking to serve interrogatories on an opposing Party must do
       so more than thirty (30) days before the discovery cut-off date.
       Any discovery request propounded, without leave of Court, that gives
       the Party to whom it is directed an insufficient amount of time to
       respond before the discovery cut-off date shall be deemed moot, and
       the Party will be under no obligation to respond to the same;
       g. Parties must note that the mere filing of a motion for extension
       of time or for a protective order neither absolves the moving party
       of its duty to respond to discovery within the time determined by
       the Rules, Court Order, or agreement of the Parties, nor does it
       toll the time when such discovery is to be filed;
       h. The Court otherwise directs the Parties to the Local Rules of the
       Southern District of Florida and to the two Appendices attached
       thereto, which clearly spell out the expectations of attorneys who
       practice before this Court.
       4. Material that is listed in Federal Rule of Civil Procedure 5.2 must be
 filed in accordance with the procedures prescribed by the United States District
 Court for the Southern District of Florida Case Management Electronic Case Filing
 Administrative Procedures § 6.
       5. The Court does not grant prospective motions to file under seal; such
 motions will only be granted on a case-by-case basis and for no longer than one
 (1) year.
       6. Any motion to amend the Complaint must include the following: whether
 the party or claim it seeks to add is proper under Federal Rules 18-20, and why;
 the basis for adding the additional parties or claims; whether the additional
 party and claims could have been brought earlier; and if so, why they were not
 included.
       7. Any motion for summary judgment must comport with Local Rule 56.1. The
 Court strictly enforces the provision of Local Rule 56.1(a) and its requirements
 concerning the statements of fact that are to accompany any motion for summary
 judgment and the response thereto.
       8. If Pre-trial Conference, to be set by separate order, is cancelled, all
 motions in limine and memoranda treating unusual questions of law must be
 submitted within eight (8) days of the date for which Pre-trial Conference was
 scheduled.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

 County, Florida, this          16th         day of May, 2019.




                                       WILLIAM J. ZLOCH
                                       Sr. United States District Judge

 Copies furnished:

 All Counsel of Record




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